Case 1:19-cv-00487-JMS-KJM Document 13 Filed 10/07/19 Page 1 of 2            PageID #: 119




  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiff
  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.                      )   Case No.: 1:19-cv-00487-JMS-KJM
                                             )   (Copyright)
                     Plaintiff,              )
      vs.                                    )   NOTICE OF WITHDRAWAL OF
                                             )   PLAINTIFF’S FIRST EX PARTE
   Muhammad Faizan, et al.                   )   MOTION FOR ORDER PERMITING
                                             )   CLERK TO PERFORM FOREIGN
                     Defendants.             )   MAILING
                                             )
                                             )
                                             )
                                             )

   NOTICE OF WITHDRAWAL OF PLAINTIFF’S FIRST EX PARTE MOTION
    FOR ORDER PERMITTING CLERK TO PERFORM FOREIGN MAILING

         Plaintiff HB Productions Inc. (“Plaintiff”) withdraws its first motion [Doc. #9]

  of September 12, 2019 for entry of an order permitting the Clerk to mail documents

  to effect service on Defendant Muhammad Faizan (“Defendant”) because Plaintiff

  has already effected personal service of Defendant.

         DATED: Kailua-Kona, Hawaii, October 7, 2019.
  19-cv-487
Case 1:19-cv-00487-JMS-KJM Document 13 Filed 10/07/19 Page 2 of 2   PageID #: 119




                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper

                              Attorney for Plaintiff
                              HB Productions, Inc.




  19-cv-487
